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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



FEDERAL TRADE COMMISSION,

               Plaintiff,
                                             Case No. 1:20-cv-03590-JEB
          v.

META PLATFORMS, INC.,

               Defendant.




               MEMORANDUM IN SUPPORT OF
   META PLATFORMS, INC.’S MOTION FOR SUMMARY JUDGMENT
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                                       INTRODUCTION

       The FTC’s belated enforcement action against Meta Platforms, Inc. (“Meta”) under

Section 13(b) of the FTC Act should be dismissed. The FTC claims that Meta violated Section 2

of the Sherman Act by maintaining a monopoly in a contrived “market” for the free-to-consumer

use of something it calls “personal social networking services” (or “PSNS”). In its interrogatory

responses, the FTC defines PSNS to include only the Facebook, Instagram, Snapchat, and MeWe

applications (“apps”) and states that virtually everything done on Facebook and Instagram – not

just sharing with friends and family – is within the claimed market. The FTC’s entire case

centers on the consummation of two acquisitions in 2012 and 2014, both of which the FTC

reviewed carefully and cleared. The FTC’s initial complaint was dismissed for failure to state a

plausible claim. See generally FTC v. Facebook, Inc., 560 F. Supp. 3d 1 (D.D.C. 2021). Its

amended complaint survived in part, based on the FTC’s commitment to provide evidence that

would support the existence of a PSNS relevant antitrust market, Meta’s monopoly power in that

market, and harm to competition and consumers from Meta’s acquisitions of Instagram and

WhatsApp. See generally FTC v. Facebook, Inc., 581 F. Supp. 3d 34 (D.D.C. 2022). After

extensive discovery, it is now apparent that the FTC cannot prove any of the required elements

of its Section 2 claim. This first-ever attempt to revisit acquisitions reviewed and cleared by the

FTC more than a decade ago itself threatens beneficial competition and is unsupported.

       1.      The FTC Has No Evidence To Support Its Alleged Market. A relevant antitrust

market must include the substitutes that people would use more of when faced with a price

increase for Facebook or Instagram. The FTC must demonstrate – but cannot prove – that its

alleged PSNS market includes all reasonable substitutes for the more than 250 activities people

engage in on Facebook and Instagram. But there is no competent evidence that consumers do

not substitute for these activities beyond Facebook, Instagram, Snapchat, and MeWe. The FTC
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has none of the evidence required in this Circuit, neither data-based analysis of substitution nor

evidence to support the qualitative factors bearing on substitution from Brown Shoe. Both the

quantitative evidence and proper application of the Brown Shoe factors contradict the FTC’s

candidate market. That evidence demonstrates consumers will substitute beyond the artificially

limited PSNS set. Consumers use many other services that offer some or even most of the

plethora of activities available on Meta’s apps. These include but are not limited to services

offered by TikTok, YouTube, Twitter (X), LinkedIn, Apple, and many others. The FTC relies

on ipse dixit assertions that Meta apps are “different,” which have never been found sufficient by

any court. See infra Part I.

       2.      The FTC Has No Evidence To Support Its Allegation That Meta Has Monopoly

Power. Monopoly power is the power to raise price above a competitive level, or restrict output

or quality below a competitive level. The FTC has no evidence that Meta has such power. The

FTC’s attempt to prove power indirectly founders on its failure to establish a valid market in

which Meta has a “dominant” share, as well as its failure to show that significant barriers to entry

prevent other firms from offering competitive services. Many have entered, and others – like

WhatsApp, before it was acquired – could enter according to the FTC. The direct evidence of

monopoly power that the FTC previously said was “rarely available” is in fact unavailable here:

Meta has never charged a price and has never restricted output. Meta provides its valuable apps

to billions of people – for free. It has increased output and the range of services that it provides,

thereby demonstrating an effective price reduction (greater value for consumers). And while the

FTC complains about certain aspects of the quality of Meta’s apps, the FTC (and its Armada of

hired expert witnesses) have not even attempted to consider overall Meta app quality, much less

benchmark it against a competitive level. No court has ever accepted anecdotal or speculative




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claims, like those made here by the FTC, as proof of monopoly power. Indeed, no court has ever

relied on “quality” claims alone to prove monopoly power. See infra Part II.

        3.     The FTC Has No Evidence To Support Its Allegation That Meta’s Acquisitions

of Instagram and WhatsApp Harmed Consumers. The FTC needs evidence to prove that Meta

maintained a PSNS monopoly through conduct that was “exclusionary” or “predatory.”

Exclusionary conduct is conduct that actually caused harm to competition and consumers. See

United States v. Microsoft Corp., 253 F.3d 34, 58-59 (D.C. Cir. 2001) (en banc) (per curiam).

The FTC claims that the Instagram and WhatsApp acquisitions – and only those – were the

exclusionary conduct that maintained Meta’s monopoly in 2012 and 2014. But the FTC has no

evidence that either challenged acquisition harmed competition and consumers. Its expert

witnesses have not even hypothesized a “but-for” world, without one or both acquisitions, in

which consumers would have services that are better than the services they have now. The FTC

claims only that having more competitors may be better and speculates that good things might

have happened if Instagram and WhatsApp had been left to make their way without Meta’s

resources and assistance. No court has ever accepted that kind of speculation as proof. See infra

Part III.

                                        BACKGROUND

A.      Meta’s Business

        Meta offers users a variety of tools for communicating, sharing, and consuming content

on several services, including Facebook, Instagram, Messenger, and WhatsApp. See SMF ¶¶ 2-

4. In their free time, users can take part in many activities on those apps. See, e.g., SMF ¶¶ 7, 17

(Facebook), ¶ 65 (listing Instagram features), ¶¶ 93-112 (Messenger), ¶¶ 114-125 (WhatsApp).

These include not only sharing personal updates, photographs, videos, and other content with

friends and family, but also sending one-to-one and group messages, reading, shopping, posting


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to interest-based groups, and viewing long- and short-form videos from sources with whom the

user does not have a personal relationship (“unconnected sources”), such as a business or

influencer the user follows, or public accounts like the National Basketball Association or

Saturday Night Live. See SMF ¶¶ 20-44, 70-92, 114-125. Today,                          of what

users consume on Facebook and Instagram is not friends-or-family content;

of time on Facebook and        of time on Instagram is spent engaging with content that comes

from public or other unconnected sources. See SMF ¶¶ 11, 56.

       Meta offers its apps free of charge and in unlimited quantities. See SMF ¶ 5. Meta’s

Facebook app has been free since its inception in 2004 and has remained free since Meta

supposedly became a monopolist in 2011. See SMF ¶ 5. Meta also provides Instagram for free.

See SMF ¶ 5. And Meta cut the price of WhatsApp to zero after acquiring it. See SMF ¶ 825.

Meta generates substantially all of its revenues from selling advertising placements on Facebook

and Instagram, see SMF ¶ 132, which compete with many other digital advertisers for those

sales, see, e.g., SMF ¶ 144. To the extent consumers spend more time on Meta’s apps, Meta has

the opportunity to sell more advertising. See SMF ¶ 142. Meta accordingly has an incentive not

only to attract users, but also to keep them engaged and spending time with positive user

experiences on Meta’s services – rather than others – to increase advertising revenues and

profits. See SMF ¶ 141.

       To enhance the experience of users – all of whom consume content and some of whom

also post content – Meta has invested billions of dollars into one of the largest content-

distribution infrastructures on Earth. See SMF ¶¶ 126, 151. Meta’s infrastructure ensures that

users can reliably access Meta’s platforms with limited delay or interruption, even as content

becomes increasingly bandwidth intensive. See SMF ¶ 152. In addition, as consumer




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preferences change and competitors evolve, Meta invests tens of billions of dollars into research

and development so that it can offer scores of new features and innovations that will attract new

users and keep existing users engaged. See, e.g., SMF ¶¶ 126-127, 710, 823.

B.     Meta’s Acquisitions

       Meta acquired Instagram in 2012. See SMF ¶ 701. Before the acquisition was

announced, Instagram had 13 employees, approximately 3.9 million U.S. monthly active users,

and a third-party infrastructure that suffered multiple outages. See SMF ¶¶ 657-658 (growth),

¶¶ 679-680, 683-690 (integrity and infrastructure). Meta agreed to buy Instagram for $1 billion.

See SMF ¶ 701. Meta submitted the acquisition for pre-clearance merger review under the Hart-

Scott-Rodino Act. See SMF ¶ 702. After issuing a second request, the FTC received thousands

of documents – from both Instagram and Meta, including emails in which Meta executives

discuss Instagram as one of several emerging and potentially competitive mobile apps, and

which the FTC quotes in its amended complaint – in addition to interviewing dozens of

nonparties. See SMF ¶¶ 702-706. The FTC also conducted interviews of Meta executives,

including the CEO, and had access to the Instagram founders. See SMF ¶ 706. Ultimately, the

FTC decided against challenging the acquisition. See SMF ¶¶ 707-708. Meta has since invested

billions of dollars in developing Instagram, placing it on Meta’s infrastructure, growing it to

                                                  , and releasing dozens of new features. See

SMF ¶ 710 (investment), ¶ 724 (growth), ¶¶ 739-747 (features), ¶¶ 755-762 (infrastructure); see

also id. ¶ 126 (research and development).

       Meta acquired WhatsApp in 2014. See SMF ¶¶ 814, 822. Around the time of the

acquisition, WhatsApp had                                            . See SMF ¶ 778. But its

U.S. presence was small;

                                                                          . See SMF ¶ 778.


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WhatsApp had no plan to attempt growth in the United States and no plan to offer advertising or

otherwise obtain revenues aside from its consumer subscription fees (which it planned to

expand). See SMF ¶¶ 764-765, 767-771 (monetization), ¶¶ 772-781 (U.S. growth). Meta agreed

to buy WhatsApp for $16 billion (plus $3 billion for employee retention). See SMF ¶ 814. Meta

submitted the acquisition for pre-clearance merger review under the Hart-Scott-Rodino Act. See

SMF ¶ 815. The FTC received documents and interviewed nonparties as part of its initial

investigation. See SMF ¶¶ 816-817. The FTC then decided against issuing a second request.

See SMF ¶¶ 818-819. Meta has since invested billions of dollars into WhatsApp, placing it on

Meta’s infrastructure, growing it to                                                 – with

                        – and releasing more than a dozen new features. See SMF ¶ 823

(investment), ¶¶ 833-835 (growth), ¶¶ 840-841, 846-848, 851-854 (features), ¶¶ 855-865

(infrastructure); see also id. ¶ 126. Meta did that while cutting the price of WhatsApp to zero

and never showing display advertisements. See SMF ¶¶ 825-826. It earns revenues from

WhatsApp by selling applications to businesses. See SMF ¶¶ 827-831; see also id. ¶ 832.

C.     The FTC’s Claims

       The FTC claims that Meta unlawfully maintained a monopoly of an alleged PSNS

market, which is comprised of only Facebook, Instagram, Snapchat, and MeWe. See SMF

¶¶ 575-576 (citing FTC interrogatory response limiting market to four active firms). The FTC

confirmed, in a Court-ordered interrogatory response, that everything a user does on Facebook

and Instagram (other than Dating) is time spent within the claimed PSNS market. See SMF

¶¶ 578-581. This includes the more than 250 activities (268 total between Facebook and

Instagram) that Meta submitted in its interrogatory to the FTC – not just sharing with friends and

family but also reading, passively watching videos, shopping, messaging, gaming, and engaging

with other entertainment. See SMF ¶¶ 578, 582-584.


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       The FTC’s interrogatory response is at odds with what the Court previously characterized

as the ordinary understanding of the FTC’s market-definition allegations. See FTC v. Facebook,

Inc., 560 F. Supp. 3d 1, 19 (D.D.C. 2021) (“some of the features offered by a Facebook or

Instagram or Path are not, seemingly, part of those firms’ PSN-services offerings as defined by

the FTC,” e.g., “time a user spends engaging with specific interest-based Facebook pages or

groups”); FTC v. Facebook, Inc., 581 F. Supp. 3d 34, 48-49 (D.D.C. 2022) (“time spent on

Facebook Blue and Instagram includes interacting with friends, family, and other personal

contacts” as well as “engaging in activity – such as passively viewing a music video – that falls

outside of the market definition”).

       The FTC likewise represented in another interrogatory response that the very same things

done on Facebook and Instagram do not count as PSNS time spent when done on any other app

or service (aside from Snapchat and MeWe). See SMF ¶¶ 589-591. For example:

      Short-Form Video: Facebook and Instagram “Reels” display short-form videos,

                       comes from friends or reciprocal followers but which are instead

       generated by third parties with no connection to the user. See SMF ¶¶ 11-14, 43-44, 60,

       88-90. As of June 2023, Reels accounted for                          time spent on

       Facebook and                         time spent on Instagram. See SMF ¶ 15; see also id.

       ¶ 59. The appearance and content of Reels videos are virtually identical to short-form

       videos that users can and do view on TikTok and YouTube Shorts (often identical down

       to the watermark). See SMF ¶¶ 170-172, 211-212. The FTC contends that 100% of the

       time spent on Reels is PSNS, including watching Reels posted by celebrities, creators,

       and public accounts with no connection to the viewer. See SMF ¶ 582. The FTC further

       contends that 100% of the time spent viewing identical short-form videos on TikTok and




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    YouTube Shorts – whether or not posted by people the user actually knows – is not

    PSNS. See SMF ¶ 591; see also id. ¶¶ 627-628.

   Small-Group Messaging: Facebook and Instagram users can send and receive text,

    photo, and video messages on a one-to-one, one-to-some, or one-to-many basis (e.g.,

    group chats). See SMF ¶¶ 79-80, 93-95. Small-group messaging is a growing use of

    Instagram in particular. See SMF ¶¶ 727-728. Messages sent on Instagram and

    Facebook are similar in appearance and operation to messages sent on other services such

    as Apple’s iMessage. See SMF ¶¶ 440, 442-445, 741. The FTC represented that

    identical messages, to identical recipients, are PSNS when sent on Facebook and

    Instagram, but not PSNS when sent on Apple’s iMessage and other services. See SMF

    ¶¶ 589-591. The FTC further represented that sending a message within the Facebook

    app is PSNS, while sending the exact same message (to the same recipient) on

    Facebook’s Messenger app – which users can access through an in-app link on the

    Facebook app – is not PSNS. Compare SMF ¶ 583, with id. ¶ 585.

   Viewing Video Content: Users on Facebook and Instagram can view videos of various

    lengths, including videos that are longer than those offered on Reels – e.g., a comedy

    sketch, fashion show, sporting event, political speech, or movie. See, e.g., SMF ¶¶ 30-31,

    36-38, 84-85. More time is now spent viewing short and longer videos on Facebook than

    on                         , and                     that video time is spent watching

    content posted by unconnected sources. See SMF ¶¶ 11-14. Consumers can (and do)

    watch identical videos on a variety of services, including YouTube and others. See, e.g.,

    SMF ¶¶ 162-163; see also id. ¶¶ 284-287. The FTC confirmed that using Facebook or

    Instagram to watch a video posted by an unconnected source constitutes PSNS. See SMF




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    ¶¶ 582-584. But the FTC further contends that watching that identical video on YouTube

    and other services is not in the proposed PSNS market. See SMF ¶ 591.

   Consuming Interest-Based Content: Users on Facebook and Instagram can engage with

    a variety of features to view, post, share, and consume interest-based content – including

    from public or other unconnected sources. See SMF ¶¶ 26-29, 77. According to one of

    the FTC’s expert witnesses, keeping up with popular culture and related interests is a

    “core” use case for Instagram. See SMF ¶¶ 357, 608. That common use case is also

    served by, among others, Twitter, Pinterest, and Reddit, as well as YouTube and TikTok.

    See, e.g., SMF ¶¶ 283-285 (Twitter), ¶¶ 330-341 (Pinterest), ¶¶ 386-388 (Reddit). The

    FTC has asserted that using Facebook or Instagram to consume interest-based content

    that has nothing to do with friends or family constitutes PSNS. See SMF ¶¶ 581-584.

    But the FTC also contends that consuming such content on other services like Twitter or

    Pinterest or Reddit is not in the proposed PSNS market. See SMF ¶¶ 589-591.

   Shopping on Marketplace: Facebook users can shop via a service called Marketplace

    within the Facebook app. See SMF ¶¶ 32-33. Marketplace transactions include users

    buying from other users they do not know, in addition to transacting with commercial

    businesses and online storefronts. See SMF ¶¶ 32-33; see also id. ¶¶ 86-87. The FTC

    has asserted that viewing goods on Marketplace from a vendor the user does not know

    constitutes PSNS (as does all transacting on Marketplace). See SMF ¶¶ 581-583. The

    FTC also contends that using all other online storefronts to view goods from a vendor the

    user does or does not know is not in its proposed PSNS market. See SMF ¶ 591.




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There are dozens of such examples; all told, the FTC considers 250+ activities on Facebook and

Instagram to be PSNS – everything but Dating – while the same activities on different services

(other than Snapchat and MeWe) are not PSNS. Compare SMF ¶¶ 581-584, with id. ¶¶ 589-591.

       The FTC does not contend that Meta has engaged in any anticompetitive conduct since

acquiring Instagram and WhatsApp. The FTC confirmed in discovery that it challenges only the

acquisitions – and Meta’s continued possession of unspecified assets obtained from Instagram

and WhatsApp many years ago – and no other conduct. See SMF ¶ 653.

                                      LEGAL STANDARD

       Under Federal Rule 56, once the movant has made a showing to “demonstrate the

absence of a genuine issue of material fact,” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986),

the burden shifts to the nonmovant “to produce admissible evidence establishing a genuine issue

of material fact,” Bush v. Dist. of Columbia, 595 F.3d 384, 386 (D.C. Cir. 2010). “A fact is

‘material’ if it is capable of affecting the substantive outcome of the litigation. A dispute is

‘genuine’ if the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Whiteru v. WMATA, 636 F. Supp. 3d 107, 111 (D.D.C. 2022) (citations omitted).

                                           ARGUMENT

I.     THE FTC HAS NO EVIDENCE TO SUPPORT ITS CONTRIVED “PERSONAL
       SOCIAL NETWORKING SERVICES” MARKET

       It is the FTC’s burden to come forward with evidence that proves the existence of the

relevant antitrust market that Meta allegedly monopolized. See FTC v. Facebook, Inc., 560

F. Supp. 3d 1, 13 (D.D.C. 2021); see also United States v. Microsoft Corp., 253 F.3d 34, 51

(D.C. Cir. 2001) (en banc) (per curiam). This Court should grant summary judgment because the

FTC cannot carry that burden. It has no evidence to support a relevant antitrust market of PSNS

in the United States, consisting of only Facebook, Instagram, Snapchat, and MeWe – but not



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TikTok, YouTube, iMessage, Twitter, LinkedIn, or any other competitor. This claimed market

has no basis in “commercial realities.” Brown Shoe Co. v. United States, 370 U.S. 294, 336-37

(1962); see also Ohio v. Am. Express Co., 585 U.S. 529, 543-44 (2018). It is instead a textbook

example of a gerrymandered market that exaggerates Meta’s position. See It’s My Party, Inc. v.

Live Nation, Inc., 811 F.3d 676, 683 (4th Cir. 2016) (“No party can expect to gerrymander its

way to an antitrust victory without due regard for market realities.”); see also Neumann v.

Reinforced Earth Co., 786 F.2d 424, 429-30 (D.C. Cir. 1986) (affirming directed verdict where

market is “arbitrarily circumscribed” so that it “exaggerates [defendant’s] position”).

       Most fundamentally, the FTC cannot prove that it has included all reasonable substitute

services in its market definition. The FTC has the burden of proving that its candidate market

includes all the services to which consumers would switch (by using more) in response to

increases in price. See infra Point 1. Those are substitutes that prevent Meta from charging a

price above competitive levels, or reducing output or quality below competitive levels. The FTC

has none of the quantitative or qualitative evidence of substitution recognized as authoritative in

this Circuit. See infra Point 2. The quantitative and qualitative evidence actually points in the

opposite direction – there is substitution to many services the FTC excludes from its claimed

market. The FTC’s expert witnesses say that PSNS is a relevant market but have no evidence of

substitution to support it. They cannot explain – much less support with evidence – why

consumers might not, for example, tap TikTok to watch a short-form video when Facebook’s

similar (or even identical) videos do not satisfy; or communicate with friends and family on

iMessage when they are displeased by messaging on Instagram; or view videos on YouTube

when Meta’s apps seem less attractive; or shop on Nextdoor when Marketplace does not offer

what they are looking to buy.




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       If there were any doubt that the FTC’s market definition is dictated by litigation tactics

rather than the evidence, it is confirmed by the conflicting opinions of the FTC’s expert

witnesses (its main economic expert, Professor Hemphill, is a law professor; the other, Professor

Lampe, is a claimed industry expert). They disagree on the definition of the PSNS market.

Professor Hemphill accepts the FTC’s interrogatory response and says everything one does on

Facebook and Instagram counts as PSNS (other than Dating), while those exact same things done

on other services do not. See SMF ¶¶ 620-626; see also id. ¶¶ 579-580. Professor Lampe,

however, says that what distinguishes so-called PSNS apps from non-PSNS apps is a tiny sliver

of use: sharing with “weak tie” connections; not family, not close friends, not the entire world,

but rather some amorphous collection of intermediate people connected in some unidentified

way. See SMF ¶¶ 610-611; see also id. ¶¶ 603-608. And unlike Professor Hemphill and the

FTC, Professor Lampe says that much of what users do on Facebook and Instagram – like

messaging – does not count as PSNS because it is different from this “weak tie” sharing that

allegedly distinguishes Meta’s apps. See SMF ¶ 607. Where the FTC’s own expert witnesses

cannot even agree on the relevant arena of competition (the market) or who the competitors are

and for what, it is a blaring alarm that the alleged market has no support in commercial realities.

       1.      The FTC must present evidence that consumers do not substitute between

so-called “PSNS” and other services. The FTC must prove that its candidate market includes

all reasonable substitutes. This is black-letter law: the proponent of a market definition must

prove – with evidence, not unsupported theory – that the claimed market constitutes “the area of

effective competition.” Am. Express, 585 U.S. at 543-44. This means that all acceptable

substitutes must be included. See Microsoft, 253 F.3d at 52 (relevant market must include “all

products reasonably interchangeable by consumers”) (emphasis added); Facebook, 560 F. Supp.




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3d at 13-14 (“[a]t bottom, products that are sufficiently interchangeable compete with each other

in the relevant legal sense,” citing Microsoft ); see also Hicks v. PGA Tour, Inc., 897 F.3d 1109,

1120 (9th Cir. 2018) (similar). Remarkably, the FTC testified at a Rule 30(b)(6) deposition that,




                                                      . See SMF ¶¶ 595-598.

       It is simply not enough to claim that there are functional differences between services; the

question is whether consumers consider them acceptable substitutes notwithstanding such

differences. See Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 437 (3d Cir.

1997) (market defined by willingness of consumers to substitute even if “there may be some

degree of preference for the one [product] over the other”); United States v. Oracle Corp., 331

F. Supp. 2d 1098, 1159 (N.D. Cal. 2004) (rejecting a candidate market that lacked any

“quantitative metric” to “determine the distinction” between what is in and out, and holding that

“[m]ore is required” than “the mere notion that there is ‘something different’ about the merging

products and all others”); see also Grappone, Inc. v. Subaru of New England, Inc., 858 F.2d 792,

798 (1st Cir. 1988) (Breyer, J.) (explaining that differentiated products can be substitutes).

       The relevant substitution need not be complete replacement; consumers need not drop

Facebook or Instagram completely for substitute services. “Demand substitution” occurs at the

margins, such that a shift in time spent from Meta’s apps to other services can make it

unprofitable for Meta to raise prices above competitive levels. FTC v. RAG-Stiftung, 436

F. Supp. 3d 278, 292 (D.D.C. 2020) (“[d]emand substitution polices the outer boundaries of a

product market,” because “demand substitution . . . illuminates whether customers can switch to

one product and constrain anticompetitive pricing in another”); see also SMF ¶ 142 (explaining




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that advertising revenues are tied to consumer engagement or time spent on the service).

Accordingly, the services to which consumers would shift time in response to a price increase

must be included in the market. See RAG-Stiftung, 436 F. Supp. 3d at 292 (“[p]roduct markets

are almost always defined by demand substitution,” which “describes customers’ ability and

willingness to substitute away from one product to another in response to a price increase or a

corresponding non-price change such as a reduction in product quality or service”); FTC v. Arch

Coal, Inc., 329 F. Supp. 2d 109, 119 (D.D.C. 2004) (“The general question is whether two

products can be used for the same purpose, and if so, whether and to what extent purchasers are

willing to substitute one for the other.”); see also United States v. Engelhard Corp., 126 F.3d

1302, 1306 (11th Cir. 1997) (“the question is whether a hypothetical monopolist could profitably

raise price” without losing enough customers “to make the price increase unprofitable”).

       2.      The FTC has neither quantitative nor qualitative evidence that users substitute

Facebook and Instagram usage with only other so-called “PSNS”. Courts in this Circuit have

uniformly required proof – not mere theory or speculation – that a candidate market includes all

reasonable substitutes, in one of two forms. See RAG-Stiftung, 436 F. Supp. 3d at 293 (“Courts

use two approaches to help define a relevant product market.”). First, an economist can use

quantitative tests to demonstrate whether and how the defined market includes all reasonable

substitutes. See Arch Coal, 329 F. Supp. 2d at 120-21. Second, a plaintiff can conduct an

analysis of the qualitative factors the Supreme Court identified in Brown Shoe, again to

demonstrate that the proposed market includes all acceptable substitutes. See Rothery Storage &

Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210, 218 (D.C. Cir. 1986) (explaining that the Brown

Shoe factors are “evidentiary proxies for direct proof of substitutability”). The FTC cannot make

the required showing for either standard.




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       a.      No Quantitative Evidence of Substitution Supports the Alleged PSNS

Market: The FTC’s expert witnesses admitted that no quantitative evidence regarding

substitution in the proposed market supports their opinions. Professor Hemphill, the main FTC

expert witness on market definition, conceded that he did not perform and had no data to perform

a “hypothetical monopolist test” – a recognized test intended to determine whether a single firm

controlling the proposed market could profitably impose a small but significant non-transitory

increase in price – or any other quantitative test. See SMF ¶¶ 633-635. And no other FTC expert

witness performed that or any other quantitative analysis of substitution. See SMF ¶¶ 609, 613,

652. The FTC’s survey expert – who disclaimed opining on substitution – actually found that

consumers do use Facebook, Instagram, and other services the FTC excludes from the claimed

market to do some of the same things. See SMF ¶¶ 645-652. Thus, the record lacks any attempt

by the FTC to support its claimed market with objective, data-based analysis of substitution.

       Meta expert witnesses did perform such analyses. They analyzed data from past service

outages and conducted extensive field experiments involving thousands of consumers. See SMF

Part I.C (Empirical Substitution). The data from these experiments establish that consumers

freely substitute in response to economic stimuli analogous to price increases – and they do so

with a mere smartphone swipe and tap. See SMF ¶¶ 544-546 (Pricing Experiment), ¶ 552

(TikTok Ban), ¶¶ 557-560 (Switching Analysis), ¶¶ 564-565 (Outage Analysis). The evidence

strongly supports the conclusion that TikTok, YouTube, and several other apps are acceptable

substitutes for Facebook and Instagram – but the FTC must exile them from the “market” to

claim a “dominant” share for Meta. See Arch Coal, 329 F. Supp. 2d at 120 (“If a slight decrease

in the price of product A causes a considerable number of customers of product B to switch to A,

that would indicate that a cross-elasticity of demand exists between A and B and that they




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compete in the same product market.”); see also Mylan Pharms. Inc. v. Warner Chilcott Pub.

Ltd. Co., 838 F.3d 421, 437 (3d Cir. 2016) (similar).

       The FTC’s insistence that Snapchat is in the market (see SMF ¶ 575) provides a

commonsense way to test the FTC’s candidate market: to the extent an app is a closer substitute

for Facebook and Instagram than is Snapchat, the app that is a closer substitute cannot be

excluded from the market. There is ample empirical evidence that several apps, including

TikTok and YouTube, are closer substitutes:

   ● Professor List performed a multi-week “pricing” experiment in which he compensated

       thousands of Facebook and Instagram users to reduce their time spent on the apps; using

       device monitors, he determined diversion rates – i.e., the share of time diverted to other

       apps and activities. See SMF ¶¶ 537-543. He found that, for Facebook, more time was

       diverted to YouTube (8%) and TikTok (5%) than was diverted to Snapchat (1%). See

       SMF ¶¶ 544, 546. For Instagram, 19% of user time was diverted to YouTube and 10% to

       TikTok; just 2% was diverted to Snapchat. See SMF ¶¶ 545-546.

   ● Professor Carlton studied changes in usage for various apps during a several-hours-long

       outage of all of Meta’s apps in October 2021. See SMF ¶¶ 562-563.




                                  . See SMF ¶¶ 564-565.

The empirical studies in the record demonstrate that other services – including YouTube and

TikTok – are closer substitutes for Facebook and Instagram than is Snapchat. See also, e.g.,




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SMF Part I.C.2 (TikTok Ban), Part I.C.3 (Switching Analysis). The FTC can make no contrary

claim based on any data-based evidence, and that lack of quantitative evidence should result in

summary judgment. See DSM Desotech Inc. v. 3D Sys. Corp., 749 F.3d 1332, 1344 (Fed. Cir.

2014) (affirming summary judgment where plaintiff’s evidence “fails to answer the pertinent

economic question of whether a sufficient number of customers would switch to a competing

technology if faced with a small but significant price increase”); see also Golan v. Pingel Enter.,

Inc., 310 F.3d 1360, 1369 (Fed. Cir. 2002) (affirming summary judgment, rejecting “conclusory

allegations” about market definition made “without further supporting evidence”).

       b.      Brown Shoe Indicia of Substitution Are Not Even Claimed in Support of

PSNS: Although data-based analysis is the gold standard, courts in this Circuit have also

evaluated substitution using the qualitative factors identified by the Supreme Court in Brown

Shoe. See RAG-Stiftung, 436 F. Supp. 3d at 293. But the FTC and its eight expert witnesses

have not even sought to justify the PSNS construct with evidence bearing on these factors, see

SMF ¶ 614 – and for good reason: none of the Brown Shoe factors supports the claimed PSNS

market. See IGT v. All. Gaming Corp., 702 F.3d 1338, 1347 (Fed. Cir. 2012) (affirming

summary judgment where neither public nor industry perception supported claimed market);

Thurman Indus., Inc. v. Pay ’N Pak Stores, Inc., 875 F.2d 1369, 1376 (9th Cir. 1989) (affirming

summary judgment, stating that evidence different stores are “perceived as distinguishable . . .

form[s] an inadequate basis for concluding that home centers and other retailers lack the ability

to attract substantial amounts of business away from each other”). Merely claiming that products

are “different” is insufficient as a matter of law. See In re Super Premium Ice Cream Distrib.

Antitrust Litig., 691 F. Supp. 1262, 1268 (N.D. Cal. 1988) (“Courts have repeatedly rejected

efforts to define markets by . . . product quality variances.”), aff ’d sub nom. Haagen-Dazs Co. v.




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Double Rainbow Gourmet Ice Creams, Inc., 1990 WL 12148 (9th Cir. Feb. 8, 1990) (judgment

noted at 895 F.2d 1417 (Table)).

       i.      No Industry Recognition for PSNS as a Four-App Market: Millions of pages of

ordinary-course business documents and the testimony of scores of nonparty industry witnesses

turned up no recognition of a market characterized by the “PSNS” rubric limited to the four

active services the FTC identifies. See, e.g., SMF ¶¶ 463-477. Nor did extensive discovery

reveal any industry recognition that competition for all of the things done on Facebook and

Instagram – everything except Dating, per the FTC’s market definition – does not include

obvious competitors for at least many if not most of those things on services like YouTube,

TikTok, Twitter, LinkedIn, and others. On the contrary, there is widespread recognition that

competition includes these competitors. See, e.g.,

                                                         . The FTC is not claiming a market

limited to a particular type of friends-and-family sharing; it is claiming that the market includes

virtually everything done on Facebook and Instagram and therefore virtually everything a person

can do online, such as watching videos, shopping, reading news, following celebrities, gaming,

messaging, and many other activities. See SMF ¶¶ 581-584. Ordinary-course business

documents from both Meta and nonparties confirm broad competition, e.g.:




                                      . The widely used terms “social media” and “social

network” routinely include many services that the FTC must exclude in its effort to call Meta




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apps “dominant.” See SMF ¶¶ 479-482.                                                         (and

scores of companies claimed in securities disclosures) that they compete with Meta apps for user

time and attention. See SMF ¶¶ 461-462; see also, e.g.,                                             .

       ii.     No Peculiar Characteristics for the Four Claimed PSNS Apps: The FTC’s

witnesses Professors Hemphill and Lampe conceded – consistent with overwhelming industry

recognition – that multiple apps the FTC excludes from its invented market share the very

features the FTC claims are characteristic of PSNS apps. See SMF ¶¶ 203, 209, 211, 612. For

example, services such as TikTok and Twitter allow for consuming short-form videos, following

the news, and sharing with friends and family in a shared social space. See SMF ¶¶ 627-629.

Professor Hemphill conceded that TikTok has the characteristics that supposedly define PSNS,

i.e., “a social graph” that can include friends and family; “one-to-many (‘broadcast’)

communications”; and a “shared social space within which content delivery and interaction

occurs.” See SMF ¶¶ 210, 627. Professor Lampe conceded that consumers can use Twitter for

“personal social networking.” See SMF ¶¶ 280-281. There is no characteristic peculiar to

Facebook, Instagram, Snapchat, and MeWe, and none of the witnesses – including the FTC

expert witnesses – claims otherwise.

                                                                                      ).

       iii.    No Distinctive Uses for the Four PSNS Apps: The FTC’s expert witnesses

conceded that virtually everything consumers do on Facebook or Instagram can be done (and is

done) on other services outside the supposed PSNS market. For example, Professor Lampe

testified that consumers can do and actually do the exact same things on other services, e.g.,

viewing public videos on YouTube, watching short-form videos from celebrities on TikTok,

viewing interest-based content on Pinterest and Reddit, and sending individual or group




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messages on iMessage, among other alternatives. See SMF ¶ 612. While the FTC will argue

variously that Meta apps have a “core” use case of sharing with friends and family – and a

“social graph” that enables that sharing (Professor Hemphill), or a limited group consisting of

people connecting with others to whom they are not close (Professor Lampe) – sharing of all

types, however sliced, is done on many other services, including iMessage, TikTok, and others

that have social graphs of user connections. See, e.g., SMF ¶¶ 645-652 (FTC survey). Professor

Lampe agrees that most of the activities done on Facebook and Instagram are not distinctive. See

SMF ¶¶ 609-612. The many uses to which Meta apps can be put are widely shared with other

services the FTC excludes from its candidate market.

       iv.     No Unique Production Facilities, Distinct Customers, Distinct Prices,

Sensitivity to Price Changes, Specialized Vendors: The remaining Brown Shoe factors provide

no support for a PSNS market definition. The FTC’s expert witnesses have not attempted to

analyze any of these factors because there are no unique production facilities (apps are produced

by writing code), distinct customers (consumers use an average of 46 different mobile apps in a

month, see SMF ¶ 1), or distinct prices (ad-supported apps are typically free), and there is no

evidence about any particular sensitivity to price changes or specialized vendors. See SMF

¶ 614. These factors, like the others discussed above, all weigh against the claimed market here.

                                          *       *      *

       The FTC’s theories – unsupported by evidence – cannot create a genuine dispute of

material fact for trial. It is telling that the FTC’s expert witnesses did not conduct data-based

analysis of substitution and studiously avoided Brown Shoe analysis. There is simply no

evidence that consumers do not substitute services beyond the four-firm PSNS set for at least

some of the many things consumers do on the Meta apps. The Court observed, in ruling on




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Meta’s motion to dismiss, that “at least some of the features offered by a Facebook or Instagram

or Path are not, seemingly, part of those firms’ PSN-services offerings as defined by the FTC.”

Facebook, 560 F. Supp. 3d at 19. But the FTC nevertheless doubled down on its unlikely

argument that everything anyone does on Facebook and Instagram (except Dating) is within the

relevant market. See SMF ¶¶ 578-581. The FTC now faces the consequence of that decision: it

has the burden of proving that consumers have no acceptable substitutes for any of those 250+

activities other than the two firms it acknowledges as Meta competitors. After more than a year

of pre-complaint investigation and two years of extensive litigation discovery, the FTC has only

hypotheses to support its necessary claim that the included PSNS firms are the only relevant

competitors for marginal usage of all the different activities that the FTC has included as PSNS

activities. That is insufficient.

II.     THE FTC HAS NO EVIDENCE OF MONOPOLY POWER

        Monopoly power is the power to profitably charge a price above competitive levels,

restrict output below competitive levels, or degrade quality below competitive levels. See

Facebook, 560 F. Supp. 3d at 12; see also Microsoft, 253 F.3d at 51.

        Asserting that “direct” proof of power is “rarely available,” the FTC proceeded on an

“indirect” theory, claiming it is entitled to a rebuttable presumption of power because Meta

allegedly has a “dominant” share (60% or more) of a properly defined relevant antitrust market,

protected by significant barriers to entry. But there is no evidence to support – and much

evidence to contradict – the FTC’s alleged PSNS market. See supra Part I. Its market share

numbers are accordingly meaningless. And actual competitive entry from Snapchat, as well as

the FTC’s own allegations that firms like WhatsApp could enter the claimed market, refute its

“barriers to entry” story as well. See infra Part II.A.




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       With its indirect theory in tatters, the FTC will likely pivot to a claim that direct evidence

now is available and proves Meta’s power. But the direct evidence fails to support, and indeed is

inconsistent with, the FTC’s claims. Meta has never charged consumers any price, much less a

supra-competitive price. Meta has increased output dramatically, which the FTC’s expert

witness admits is consistent with a reduction in “quality-adjusted price.” And while Meta is not

aware of any court that has ever relied solely on claims of reduced “quality” as proof of

monopoly power, the FTC and its expert witnesses have not even claimed that Meta’s apps are

below a competitive level of quality, much less come up with evidence capable of supporting

such a determination. See infra Part II.B.

       A.      There Is No “Indirect” Evidence of Monopoly Power

       1.      The FTC’s “market share” figures are meaningless. The FTC’s failure to

establish a properly defined relevant market precludes any inference of monopoly power through

indirect evidence as a matter of law. See Facebook, 560 F. Supp. 3d at 12. For the reasons set

forth above (see supra Part I), the FTC has no evidence to support the necessary first predicate

for its Section 2 case, i.e., the claimed “PSNS” relevant market. Absent such evidence, any

attempt to prove monopoly power by market share is impossible. See Microsoft, 253 F.3d at 51

(requiring evidence of share in a “relevant market”).

       Because the FTC alleges that all time spent on all Facebook and Instagram activities

(save Dating) is PSNS, see SMF ¶¶ 578-584, there is no evidence to support the exclusion of

time spent on admittedly identical features across a spectrum of apps – and it simply defies

common sense as well, see SMF ¶¶ 605-608 (the FTC’s expert witness contradicting the FTC’s

litigation position). That is fatal because when time spent on these features on other apps is

included – e.g., watching short-form videos on TikTok – there is simply no way for the FTC to

even come close to a 60% share of time spent for Meta. See FTC v. Facebook, Inc., 581 F. Supp.


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3d 34, 47-48 (D.D.C. 2022) (citing cases on the required share). For example, it is undisputed

that including time spent on just TikTok, Twitter, and YouTube – all of which offer features that

are closer substitutes for Meta than Snapchat, see supra Part I – puts Meta’s share of time spent

at               today. See SMF ¶¶ 643-644.

       2.      The evidence and the FTC’s own claims disprove the existence of significant

barriers to entry. The FTC also has the burden of proving that Meta’s market position is

protected by significant barriers to entry. See Facebook, 560 F. Supp. 3d at 12-13. But the

record over the last decade or more reflects successful entry. See SMF ¶ 729. For example,

TikTok rose from

                                                                     . See SMF ¶¶ 205, 207.

Short-form video has become one of the most significant use cases for Facebook, Instagram,

                      . See SMF ¶¶ 15, 61, 65, 170-172, 207, 745-746. And by just June 2022,

U.S. consumers were spending

                             . See SMF ¶ 207. Other competitors have emerged as well. See,

e.g., SMF ¶ 729(a) (MeWe), ¶ 837 (messengers). For example, according to the FTC, Snapchat

entered as a PSNS                                           . See SMF ¶ 486. By 2022, it had



                                   . See SMF ¶ 729(b). Another new entrant, BeReal (which

Professor Hemphill includes when calculating supposed PSNS shares) launched in 2020. See

SMF ¶¶ 618, 730.

       New and existing apps can and do develop features to compete with some or all of the

250+ features offered by Facebook and Instagram. See SMF ¶ 128; see also, e.g., ¶ 184 (

                       ), ¶¶ 240-243 (                               ). The FTC itself says that




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PSNS entry is not only possible but likely. Acknowledging that WhatsApp was not a participant

in its claimed PSNS market in 2014, the FTC alleged it was not only possible but likely that a

firm with almost no U.S. presence (

                        ), no intention of attempting to attract more U.S. consumers, and an avowed

aversion to becoming anything like Facebook, was going to pivot successfully to become a close

substitute for Facebook before Meta acquired it. See SMF ¶¶ 778-781 (U.S. growth), ¶¶ 785-793

(feature pivot); see also Am. Compl. ¶¶ 118-120 (ECF No. 81). And if it was possible for

WhatsApp to pivot, then it was certainly possible for bigger, better-financed, and U.S.-centered

messaging services like Apple’s iMessage to pivot as well. See SMF ¶ 424; see also id. ¶¶ 782,

837 (other services).

       B.      There Is No “Direct Evidence” of Monopoly Power

       The FTC itself sought to downplay any basis for a theory of “direct evidence” of Meta

monopoly power, because that would require proof that is “rarely available.” FTC Opp. to Meta

Mot. To Dismiss Orig. Compl. at 8 (ECF No. 59) (quoting Microsoft, 253 F.3d at 51). The FTC

was correct – there is no evidence that Meta has raised price, restricted output, or reduced quality

below a competitive level. None. The evidence developed in discovery indicates the opposite of

what the FTC is required to show.

       1.      Meta does not charge supra-competitive prices. Direct evidence of monopoly

power requires proof that a firm “can profitably raise prices substantially above the competitive

level.” Microsoft, 253 F.3d at 51 (emphasis added); see also Brooke Grp. Ltd. v. Brown &

Williamson Tobacco Corp., 509 U.S. 209, 233 (1993) (rejecting antitrust claim where “the price

and output data do not support a reasonable inference” that defendant “elevated prices above a

competitive level”); Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1070 (10th Cir. 2013)

(Gorsuch, J.) (“To prevail on a section 2 claim, a plaintiff generally must show the defendant


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possessed sufficient market power to raise prices substantially above a competitive level without

losing so much business that the gambit becomes unprofitable.”). As has been clear from the

outset of this case, Meta does not charge and has never charged consumers any price, both before

and after it allegedly acquired a monopoly. Facebook, Instagram, and WhatsApp are free to

consumers. See SMF ¶ 5. WhatsApp did charge consumers before it was acquired, but Meta

eliminated those fees. Compare SMF ¶ 763, with id. ¶¶ 825-826. Meta cannot charge a price

higher than a competitive level when it charges no price at all.

       2.      Meta does not restrict output below competitive levels. A second possible

indicator of monopoly power – the ability to restrict output and thereby raise prices – also points

in the opposite direction. It is undisputed that Meta has never restricted output at any point,

much less below the competitive level. See SMF ¶ 734. On the contrary, Meta has dramatically

expanded output since 2012. See SMF ¶¶ 658, 724-725. Meta apps are available to all U.S.

consumers in unlimited amounts. And it is undisputed that:

   ● Facebook monthly active users in the United States increased from 158 million in 2012 to

                                          ; and monthly time spent on Facebook

                             , from 96 billion to                    . See SMF ¶ 725.

   ● Instagram monthly active users in the United States increased from 3.9 million in 2012 to

       more than 110 million by 2016, which then                                            ; and its

       monthly U.S. time spent grew from 391 million minutes in March 2012 to

                                     . Compare SMF ¶ 658, with id. ¶ 724.

   ● WhatsApp grew from

                           ; globally, WhatsApp grew from

                                              . Compare SMF ¶ 776, with id. ¶¶ 833-834.




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It also is undisputed that overall “PSNS” output has exploded by orders of magnitude since

2012, including for non-Meta firms. See SMF ¶¶ 729-732.

       3.      Meta does not and cannot degrade quality below competitive levels. Without

evidence of supra-competitive price or restricted output, the FTC is reduced to arguing that the

“quality” of Meta’s apps – in some unquantified sense – is not what it should be, and that this

somehow proves Meta has monopoly power. This argument has never formed the basis for any

judicial finding of monopoly power, as far as Meta is aware. But, in any event, the FTC and its

expert witnesses have not even attempted to define a competitive level of quality, such that the

overall quality of Meta’s apps could be compared to the competitive level. See Kochert v.

Greater Lafayette Health Servs., Inc., 463 F.3d 710, 719 (7th Cir. 2006) (requiring empirical

analysis to establish a benchmark for quality). Absent evidence that Meta maintained quality

below a competitive level, the claims about quality are unavailing, just as claims about raised

prices are unavailing in the absence of proof that such prices exceed a competitive level. See

Microsoft, 253 F.3d at 51; see also Brooke Grp., 509 U.S. at 233. The FTC’s expert witness

admitted that such a benchmark does not exist, and accordingly the FTC made no effort to

develop evidence of quality below a competitive level. See SMF ¶ 129. Quality therefore cannot

be used here as “direct evidence” of monopoly power.

       The FTC in its amended complaint identified the supposedly deficient characteristics of

the Meta apps. See Facebook, 581 F. Supp. 3d at 55 (listing the issues and requiring the FTC to

come forward with proof ). But overall Meta app quality has increased, as the FTC’s expert

witness effectively conceded. Professor Hemphill acknowledged that Meta’s increase in output

is evidence that quality-adjusted prices are declining – where, as here, price is held constant

(zero) and output increases, that indicates quality is improving. See SMF ¶ 130. He has no other




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explanation for that output increase (much less evidence to back it up). See SMF ¶ 131. The

necessary consequence of the evidence is that consumers are receiving more value from Meta’s

free services – they are better – rather than receiving less as a result of the exercise of monopoly

power. This is evidence directly contrary to the FTC’s claim that Meta has monopoly power.

       Granular complaints about one aspect of an app simply cannot support a claim of overall

quality degradation below a competitive level. But, in any event, the FTC has no evidence to

show that the quality of any particular aspect of Facebook or Instagram was reduced below a

competitive level – or reduced at all.

       a.      Service Speed: There is no evidence that Meta has reduced quality below

competitive levels by degrading distribution or service speed. While the FTC suggested in its

amended complaint that Meta had reduced the quality of its apps in terms of speed and

distribution, it failed to produce any evidence to support that claim, which is baseless in any

case. Meta has indisputably improved speed and distribution for its apps. See SMF ¶¶ 151-153

(generally), ¶¶ 755-761 (Instagram), ¶¶ 855-865 (WhatsApp). And there is no evidence that it

has ever fallen below a competitive level of speed or distribution quality in any respect. See

SMF ¶¶ 154-155.

       b.      Innovation: There is no evidence that Meta has reduced innovation – an

amorphous concept the FTC wrongly equates to price – let alone stifled innovation below a

competitive level. The FTC’s expert witness on this issue conceded that he did not even attempt

to demonstrate that Meta’s continuous innovation was below a competitive standard. See SMF

¶ 129. Meta has spent billions of dollars improving Facebook and Instagram. See SMF ¶ 126.

Such spending hardly indicates an effort to reduce quality. The dramatic increase in output for

both Facebook and Instagram is itself evidence that Meta has improved quality through this




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innovation. See SMF ¶¶ 130-131. And there have been many innovations – new features

introduced on Facebook, Instagram, and WhatsApp – that the FTC’s expert witness conceded are

quality improvements. See SMF ¶ 127. Meta has added more than 100 new features to

Facebook since 2012, see SMF ¶ 17, in addition to releasing dozens of new features on

Instagram over that period, see SMF ¶ 739. This includes the most popular features on

Instagram measured by usage. See SMF ¶¶ 740-746; see also id. ¶ 65. WhatsApp has likewise

improved, with enhanced audio and video calling, and new features such as sharing of photos

and videos with groups that can include more than 1,000 users. See SMF ¶¶ 116, 840-841, 846.

       c.      Privacy and Data Protection: There is no evidence that Meta has reduced

quality below competitive levels by degrading “privacy” or “data protection.” Indeed, the FTC’s

argument about privacy is so amorphous that it is difficult to discern what such a standard would

even look like (aside from any legal requirements, which the FTC and its witnesses do not even

attempt to evaluate). As the FTC’s expert witness admitted, the quality of Meta’s privacy has

not fallen over time, see SMF ¶ 51, let alone fallen below some competitive level. In any case,

Meta provides many tools for consumers to control data experiences, including new features

Meta introduced after the challenged acquisitions. See SMF ¶¶ 45-50, 851-853. Meta has

continually improved these user controls. See, e.g., SMF ¶¶ 47-50, 854. The issues surrounding

online privacy are industry-wide, as many firms grapple with how best to serve customers. See

SMF ¶¶ 52-54. The FTC points to incidents in which consumer data were accessed improperly

by bad actors, but these incidents – which as a matter of common sense can occur for almost any

digital platform and any company – prove nothing about monopoly power. Other firms have

also experienced data misuses. See SMF ¶¶ 52-54.




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       d.      Advertising: Finally, the FTC places principal reliance on the amount of

advertising Meta displays to consumers who use its apps (“ad load”). But the FTC has not even

attempted to determine what the “competitive” ad load is or ever was. See SMF ¶ 146; see also

id. ¶ 147. It thus cannot claim that Meta “charges” a supra-competitive ad load to anyone, and

that lack of evidence is fatal to any claim based on supposed ad-load increases. Consumers in

any event have highly varied and subjective reactions to ads. See SMF ¶ 148. And whatever

users may say about liking ads, the fact is that users respond to and make purchases based on ads

– that is why advertisers purchase digital advertising on Meta apps and many other platforms.

See SMF ¶¶ 135-142. Viewing ads is not a charge or a price, any more than viewing other

content served on the apps – which consumers may or may not like – is a charge or a price.

Consumers can simply ignore or move past ads they don’t wish to see.

                                         *       *      *

       The FTC’s critique of Meta on quality grounds falls far short of any direct evidence that

Meta exercises monopoly power. The FTC’s witnesses have not even attempted to assess

overall quality or demonstrate a competitive level for overall quality – and without that

benchmark it is impossible to claim that the services have declined below a competitive level.

No court has ever found these kinds of criticisms to be valid evidence of monopoly power, much

less relied on them in making a finding of such power. The only evidence that might support

such a finding – objective and empirical evidence permitting a comparison with an objective

competitive benchmark – is entirely absent from the record. See Am. Express, 585 U.S. at 548

(rejecting argument about power not supported by any “reliable measure” of the “transaction

price”). If the FTC’s argument had force, then every firm that weathered a recall, overcame a




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problem, or experienced some other significant challenge without massive loss of customers

would necessarily be a monopolist. That obviously is not the case.

       4.      Meta’s profits are not “direct evidence” of monopoly power. Finally, the FTC

points to Meta’s profitability and suggests that “high” profits alone – without reference to a

competitive standard – can be sufficient evidence of monopoly power. That is incorrect; no

court has so held. Courts have instead warned that high profits alone prove nothing because

firms that face substantial competition can earn high profits for many reasons, including greater

output and superior efficiency. See Blue Cross & Blue Shield United of Wis. v. Marshfield

Clinic, 65 F.3d 1406, 1412 (7th Cir. 1995); accord CF Indus., Inc. v. Surface Transp. Bd., 255

F.3d 816, 823 n.13 (D.C. Cir. 2001) (stating “Blue Cross holds that high prices or high profits

alone do not necessarily evidence monopoly power”); see also Mylan Pharms., 838 F.3d at 435

(affirming summary judgment where expert opinion on profits contained no “quantitative

analysis” showing defendant “markedly restricted output”).

       In any event, Meta earns profits from digital advertising, where it has innovated and

benefited from an advertising sea change, with online platforms consistently providing vigorous

competition and taking advertising sales away from traditional media such as television, radio,

magazines, and newspapers. See SMF ¶¶ 133, 141, 143, 145, 716-721. Meta’s notable

innovation and resulting success in that business cannot be transformed into evidence supporting

supra-competitive profits in an entirely different claimed market. See Facebook, 560 F. Supp. 3d

at 19 (“The overall revenues earned by PSN services cannot be the right metric for measuring

market share here, as those revenues are all earned in a separate market – viz., the market for

advertising.”). Meta does not make any profit in the claimed “PSNS” use market; substantially

all of its profits come from sales of advertising, see SMF ¶ 133, which the FTC asserts is (and




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the Court has recognized as) a separate market. And the FTC has made no claim of

monopolization in that market. Cf. SMF ¶¶ 144-145 (discussing advertising competition). Meta

is aware of no court holding that profits in a different market are proof of power in the alleged

market, nor would any such finding make any sense.

III.     THE FTC HAS NO EVIDENCE OF EXCLUSIONARY CONDUCT

         The FTC’s claim also fails for a third reason: it cannot prove that Meta maintained

monopoly power from 2012 onward by means of anticompetitive conduct, i.e., “exclusionary” or

“predatory” conduct. See Verizon Commc’ns Inc. v. Law Offs. of Curtis V. Trinko, LLP, 540

U.S. 398, 408 (2004) (maintaining monopoly not unlawful; only monopoly maintained by

anticompetitive conduct violates Section 2); Microsoft, 253 F.3d at 50 (same).

         The FTC initially challenged Meta’s past platform policies and a handful of acquisitions,

but this Court held that the platform conduct was not anticompetitive as a matter of law, and the

D.C. Circuit affirmed that determination in related litigation. See Facebook, 560 F. Supp. 3d

at 21; New York v. Facebook, Inc., 549 F. Supp. 3d 6 (D.D.C. 2021), aff ’d sub nom. New York v.

Meta Platforms, Inc., 66 F.4th 288, 304-06 (D.C. Cir. 2023). The platform conduct can now “be

sliced out at summary judgment.” Facebook, 581 F. Supp. 3d at 60.

         All that remains in dispute are two acquisitions that the FTC reviewed and allowed to

proceed more than a decade ago. Under settled Section 2 standards, the FTC has no evidence

that the acquisition of either Instagram in 2012 or WhatsApp in 2014 harmed competition and

consumers. See infra Part III.A. And it has no basis for trying to undo these carefully reviewed

acquisitions a decade or more after the fact; the FTC’s clearance of these transactions should

create a presumption that the transactions were not anticompetitive, which the FTC has no

evidence to rebut. See infra Part III.B.




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       A.      The FTC Has No Evidence That Meta’s Acquisitions Were Exclusionary

       The FTC’s claim fails because there is no evidence that either acquisition “harm[ed] the

competitive process and thereby harm[ed] consumers” – this Circuit’s settled standard for

conduct “to be condemned as exclusionary.” Microsoft, 253 F.3d at 58-59 (emphasis added;

emphasis in original omitted). In ten years or more since the acquisitions, Instagram and

WhatsApp have generated extraordinary consumer-welfare benefits through greatly expanded

output of free services, substantial service improvements, and continuous feature innovation.

See SMF Part III.A.4 (Instagram), III.B.4 (WhatsApp). The FTC’s expert witnesses do not

dispute those facts. See SMF ¶¶ 733-734; see also id. ¶¶ 722, 754, 762. And, critically, the FTC

does not present any evidence that in the “but-for world” – where the transactions did not happen

– consumer welfare would be even greater than in the real world, where Meta has generated

hundreds of billions of dollars of consumer surplus. See SMF ¶¶ 711-713, 824.

       1.      The FTC must prove that consumers would have been better off if Meta had not

acquired Instagram and WhatsApp. While the FTC would like to make this case about the

Meta CEO’s alleged state of mind, this element of the monopolization claim does not turn on

what Meta or its CEO might have thought or intended. It turns instead on the actual effect of the

challenged conduct. See Microsoft, 253 F.3d at 58-59 (antitrust inquiry turns on “the effect of

[the alleged] conduct, not upon the intent behind it,” and “the plaintiff, on whom the burden of

proof of course rests, must demonstrate that the monopolist’s conduct indeed has the requisite

anticompetitive effect”) (citations omitted); see also Novell, 731 F.3d at 1078 (expressions of

intent to “ ‘hurt’ or ‘destroy’ ” rivals are expected in a competitive marketplace).

       This Court has identified the “key question”: whether Meta “engaged in such

anticompetitive conduct by acquiring actual or potential competitors, harming the competitive

process, and thereby harming consumers.” Facebook, 581 F. Supp. 3d at 53 (emphasis added);


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see also Microsoft, 253 F.3d at 58-59 (requiring evidence of consumer harm); see also United

States v. Google LLC, — F. Supp. 3d —, 2023 WL 4999901, at *9-10 (D.D.C. Aug. 4, 2023)

(Mehta, J.) (same). “Under this framework, the plaintiff has the initial burden to prove that the

challenged [conduct] has a substantial anticompetitive effect that harms consumers in the

relevant market.” Am. Express, 585 U.S. at 541 (emphasis added) (discussing analogous inquiry

under Section 1); see also Rothery Storage, 792 F.2d at 218 (“the purpose of the antitrust laws”

is “the promotion of consumer welfare”). And because the Sherman Act is a “consumer welfare

prescription,” NCAA v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 106-08 (1984), the

consumer harm the FTC must prove is typically prices above or output below competitive levels

(not simply higher prices or lower output), see Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 583 (1986) (conduct is “harmful to competition” where it has “the effect of

either raising market price or limiting output”); see also supra pp. 24-25.

       The Instagram and WhatsApp acquisitions resulted in extraordinary consumer benefits.

See infra Part III.A.2(a) & (b). To prove that consumers were harmed, the FTC must have facts

demonstrating that, without these acquisitions, consumers would have done even better than they

demonstrably have done. See Facebook, 581 F. Supp. 3d at 56 (“Facebook insists that there is

no way to know how the market for PSN services would have developed but for its acquisitions,”

which “reinforces the notion that the FTC down the road will have to prove its allegations about

how the acquisitions affected market conditions and competition”); see also Rambus Inc. v. FTC,

522 F.3d 456, 466-67 (D.C. Cir. 2008) (overturning FTC finding of exclusionary conduct

because there was no evidence that there would have been greater consumer welfare – more

output or lower prices – in the “but for world” in which the challenged conduct did not occur).




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       Consistent with that legal burden, Professor Hemphill agreed that as a matter of

economics “the relevant question here is the actual world that we live in compared to the but-for

world.” See SMF ¶ 715 (testifying that “[t]he relevant question is what does usage look like

relative to a but-for world” and stating that “I would broadly agree that consumer welfare

compared to the but-for world in which the acquisitions did not take place . . . is the right way to

think about competitive effects”). The parties therefore agree that the dispositive question is

whether the FTC has evidence that consumer welfare would be greater in the but-for world

(without the acquisitions) than in the real world. See NCTA v. Broad. Music, Inc., 772 F. Supp.

614, 642 (D.D.C. 1991) (rejecting antitrust claim asserting anticompetitive conduct where

“plaintiffs did not offer concrete evidence as to how the price of these rights is inflated beyond

what it would be” but for the challenged conduct). The answer to that question: no, and the

FTC’s expert witnesses do not even argue the point.

       2.      The FTC has no evidence that consumers would have been better off. The FTC

has no evidence as to what better services consumers would have today without the Instagram

and WhatsApp acquisitions. Rather than proffering evidence, after years of extensive pre-

complaint investigation and broad post-complaint discovery – including close analysis of Meta’s

production of more than 5.6 million documents totaling more than 27 million pages and 1.25

terabytes of structured data; document productions from 139 nonparties totaling more than 5.8

million pages; more than 60 depositions of current and former Meta employees totaling more

than 500 hours, plus 30 hours of Meta corporate depositions, and more than 60 nonparty

depositions; and 15 reports from the FTC’s proffered expert witnesses, see Hansen Decl. ¶¶ 4-7 –

the FTC can only speculate as to how Instagram and WhatsApp might have grown or what they

might have provided to consumers without the acquisitions. But speculation is not enough. See




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Virgin Atl. Airways Ltd. v. British Airways PLC, 257 F.3d 256, 264 (2d Cir. 2001) (affirming

summary judgment for lack of anticompetitive effects, stating that “expert testimony rooted in

hypothetical assumptions cannot substitute for actual market data”); Flegel v. Christian Hosp.,

Ne.-Nw., 4 F.3d 682, 684, 688-89 & n.6 (8th Cir. 1993) (affirming summary judgment, rejecting

the notion that “the presence of expert testimony by two economists suffices to survive summary

judgment,” and stating that this is “only true if the experts’ testimony would allow a finding of

actual detrimental effects to competition”).

       The Supreme Court has confirmed that speculation about anticompetitive effects – which

is all the FTC offers here – is insufficient as a matter of law. In Brooke Group Ltd. v. Brown &

Williamson Tobacco Corp., 509 U.S. 209 (1993), the Court upheld summary judgment for the

defendant after itself reviewing “the sufficiency of the evidence” and concluding “that the

anticompetitive scheme [the plaintiff] alleged, when judged against the realities of the market,

does not provide an adequate basis for a finding of liability.” Id. at 230. Relevant here, the

evidence showed “output expanded” in the real world following the alleged anticompetitive

conduct. Id. at 233. The plaintiff’s response was to speculate that output was “restricted in the

sense that it expanded at a slower rate than it would have absent [the defendant’s] intervention.”

Id. The Supreme Court rejected that speculation, stating: “One could speculate, for example,

that the rate of segment growth would have tripled, instead of doubled, without [the defendant’s]

alleged predation. But there is no concrete evidence of this.” Id. at 234.

       Here, none of the FTC’s expert witnesses offered even speculation – much less evidence-

based opinions – that consumers would have been better off compared to the real world had Meta

not bought Instagram and WhatsApp. As in Brooke Group, the lack of evidence is fatal, as a

matter of law. See Procaps S.A. v. Patheon, Inc., 845 F.3d 1072, 1085-86 (11th Cir. 2016)




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(affirming summary judgment under analogous rule of reason, stating that “[e]xpert testimony”

about “the likely effect of removing a competitor cannot take the place of presenting specific and

concrete facts,” and requiring “some empirical evidence of actual effects”); see also Cal. Dental

Ass’n v. FTC, 526 U.S. 756, 776-77 (1999) (requiring the FTC to prove “anticompetitive effects”

as to output, rather than “shift[ing] a burden” to the defendant “to adduce hard evidence of the

procompetitive nature of its policy”); Roy B. Taylor Sales, Inc. v. Hollymatic Corp., 28 F.3d

1379, 1385 (5th Cir. 1994) (“Speculation about anticompetitive effects is not enough.”).

       a.      Instagram: The FTC and its expert witnesses have hypothesized that, had Meta

not acquired Instagram in 2012, consumers might have services today with, for example, fewer

ads or more privacy. But they have no evidence to connect those hypothesized benefits to the

acquisition. They do not even speculate that output would be greater, prices lower, or overall

quality superior. At this stage of the case, to avoid summary judgment, the FTC must come

forward with competent evidence of what supposedly greater benefits consumers would actually

have in the but-for world compared to the real-world benchmark. It has none.

       i.      The Real-World Consumer Benefits from the Instagram Acquisition: Starting

with the real-world benchmark, consumers received significant benefits from the Instagram

acquisition. Meta has spent more than a decade investing billions in expanding and improving

Instagram. See SMF ¶ 710. Meta also improved service quality by placing Instagram on Meta’s

world-class distribution infrastructure, see SMF ¶¶ 755-762, while making many other product

improvements and innovations, see SMF ¶¶ 739-747. And output has exploded. See SMF

¶¶ 724-725, 729-732. The consumer-welfare results have been nothing less than spectacular:




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      Price: Meta has always provided Instagram – a valuable service – to consumers for free.

       Instagram users have always paid that same price (zero) while receiving access to more

       features at faster speeds. See SMF ¶¶ 739-747 (features), ¶¶ 755-762 (infrastructure).

      Output: Meta has grown Instagram from a service with 13 employees and 3.9 million

       U.S. monthly active users before the acquisition announcement in 2012 to one with

                                                    as of 2022 at an enterprise value of

       approximately $100 billion. Compare SMF ¶¶ 657-658, with id. ¶ 724; see also id. ¶ 721

       (enterprise value). And it is undisputed that overall marketwide output increased during

       that time, including among non-Meta services specifically. See SMF ¶¶ 724-725 (Meta

       services), ¶¶ 729-732 (non-Meta services).

      Innovation: It is undisputed that Meta has launched dozens of new features on

       Instagram, including popular features like Stories and Reels, see SMF ¶¶ 739-747, which

       Meta launched on Instagram before launching comparable features on Facebook, see

       SMF ¶ 743 (Stories), ¶ 745 (Reels). This transformed Instagram from an app with one

       feature (photo sharing) into a feature-rich service providing many ways to consume and

       share content. Compare SMF ¶¶ 671-672, 678, with id. ¶¶ 739-747.

According to several academic studies, Meta has provided hundreds of billions of dollars in

consumer surplus to Instagram users since 2012. See SMF ¶¶ 711-713 (providing annual surplus

figures). More consumers have gotten (for free) a valuable service; the difference between zero

and the price those hundreds of millions of consumers would be willing to pay is consumer

surplus. The FTC has no contrary surplus figures to offer. The FTC’s expert witness on the

subject of Instagram’s prospects pre-acquisition (Professor Rim) could not identify any other




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instance of an acquired U.S. mobile app startup that has generated output growth or consumer

benefits of this magnitude. See SMF ¶¶ 714, 728.

       ii.     The FTC Has No Evidence of Even Greater Consumer Surplus in the But-For

World: In contrast to the real-world benchmark, there is no evidence supporting the FTC’s

speculation that consumer welfare might have been even greater without the Instagram

acquisition. Indeed, the FTC admitted in written discovery that it “has not assessed a

hypothetical situation” comparing the real world of Meta “acquiring Instagram” to a but-for

world in which Instagram remained independent without access to Facebook’s platform for

distribution and promotion. See SMF ¶ 738. And every FTC expert witness on this point

disavowed any opinion that Instagram would have grown more or been better for consumers

without the acquisition (compared to the real world). For example, Professor Hemphill testified:

“No, I can’t, as I sit here, think of a specific place where I offer the view that out – output would

be even higher in the but-for world, no. . . . I’m not offering a bottom-line view that it would

have been even higher.” See SMF ¶ 734. Professor Rim – who addresses Instagram’s prospects

as an independent company pre-acquisition – could not identify even one piece of evidence that

suggests consumers would have fared better had Meta not acquired Instagram. See SMF ¶ 733.

Other FTC expert witnesses made similar admissions. See SMF ¶¶ 722, 754, 762.

       The FTC can only posit that Instagram would have been an additional PSNS and that it

would be better to have additional competitors. But no court has ever held that consumers are

harmed by a mere reduction in the number of competitors, much less that this itself is enough to

condemn an acquisition, let alone condemn an acquisition that has indisputably increased

consumer welfare. See Marrese v. Am. Acad. of Orthopaedic Surgeons, 706 F.2d 1488, 1497

(7th Cir. 1983) (“The policy of competition is designed for the ultimate benefit of consumers




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. . . , and a consumer has no interest in the preservation of a fixed number of competitors greater

than the number required to assure his being able to buy at the competitive price.”); Prods. Liab.

Ins. Agency, Inc. v. Crum & Forster Ins. Cos., 682 F.2d 660, 663 (7th Cir. 1982) (“[T]here is a

sense in which eliminating even a single competitor reduces competition. But it is not the sense

that is relevant in deciding whether the antitrust laws have been violated.”); see also Rothery

Storage, 792 F.2d at 223 (“From the inception of antitrust policy, the Supreme Court has

recognized that the elimination of rivalry by the joinder of rivals into a larger economic unit is

not, per se, an unlawful restraint of trade.”).

        As the Supreme Court warned when discussing antitrust injury: “Every merger of two

existing entities into one, whether lawful or unlawful, has the potential for producing economic

readjustments that adversely affect some persons. But Congress has not condemned mergers on

that account; it has condemned them only when they may produce anticompetitive effects.”

Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 487 (1977) (holding acquisitions

did not violate lower Section 7 standard). Indeed, Professor Hemphill testified that the

“numerosity of competitors” is not itself “the end of analysis” and what matters is “consumer

welfare compared to the but-for world in which the acquisitions did not take place.” See SMF

¶ 715. It can always be speculated that an acquired company would have soared on its own, just

as the plaintiff in Brooke Group speculated that output would have grown even more. But that is

insufficient; there must be evidence that consumers would have achieved greater benefits in the

but-for world without the acquisition.

        The FTC’s but-for-world speculation that consumers might have something better

ignores inconvenient facts. It is undisputed that before the acquisition Instagram was a startup

with just 13 employees that had limited features, no plan to make money, and a third-party




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infrastructure that suffered repeated service outages and spam attacks. See SMF ¶¶ 654-656

(monetization), ¶ 657 (growth), ¶¶ 671-672 (features), ¶¶ 679-684 (spam), ¶¶ 685-694

(infrastructure). Critically, Instagram depended on Facebook for growth – both to distribute

content and to attract users. See SMF ¶¶ 659-664. The Instagram founders testified that if Meta

had ended that support – which it had every right to do, as the founders recognized – Instagram’s

growth would have been significantly limited. See SMF ¶¶ 665-669. One of the founders

referred in a contemporaneous email to that as a likely consequence of spurning Facebook’s offer

(he called it “destroy mode”). See SMF ¶ 696. They also offered consistent testimony in this

litigation, see SMF ¶¶ 665-669, e.g.: “Facebook was one of the main growth drivers. And were

we to somehow sever[ ] that relationship, those growth drivers could have been compromised.”

See SMF ¶ 668; see id. ¶ 667 (stating that this but-for scenario “would certainly cut off a

significant portion of our growth”).

       Professor Hemphill made Meta’s point here. Instagram grew when Meta provided vital

promotional and operational support via “growth bridges” – that is, multiple affirmative efforts

to encourage Facebook users to increase usage of Instagram after Meta acquired it. See SMF

¶¶ 723, 726. Professor Hemphill claims that

                            in 2018. See SMF ¶¶ 735-736. Even if he is right about that – but

see SMF ¶ 737 (ongoing growth) – then it shows only that Instagram grew so dramatically,

before and after the acquisition, because Meta provided vital assistance. Meta would have had

no good reason to continue to provide that assistance to an independent Instagram after 2012.

See SMF ¶¶ 665-669. The idea that Meta’s growth bridges were still vital to Instagram by 2018,

when it was orders of magnitude larger than in 2012, confirms the importance of Meta’s support.

Asserting that Instagram could have grown as well without that vitally important Meta support is




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conjecture contrary to fact. It is another level of speculation altogether to argue, as the FTC

must, that Instagram’s growth as a separate company would have resulted not only in continued

viability, but also materially better services for consumers.

                                          *       *       *

       The Jack-and-the-Beanstalk story the FTC wishes to tell about Instagram’s inevitable rise

to competitive significance is not only speculation, it also ignores the formidable obstacles that

Instagram faced; not just the need for Meta’s assistance, but also the need to develop an

advertising capability, build sustainable infrastructure, and attract highly sought after talent.

Regardless of whether all these obstacles could possibly have been surmounted, the graveyard is

full of promising startups that were unable to surmount them. Indeed, the odds are virtually nil

for startups to achieve success of the level that Instagram actually achieved. See SMF ¶ 670

(empirical study of startup success), ¶ 727 (founder testimony). There was no certainty that any

of the formidable obstacles facing Instagram would have been surmounted, let alone all of them.

Moreover, there is no competent evidence that Instagram not only would have survived but

indeed would have transformed competition in a way that produced materially greater benefits

for consumers. The bottom line is that the FTC has speculation but no evidence to carry its

burden of proving that the acquisition of Instagram actually harmed competition and consumers.

       b.      WhatsApp: Even more fictive is the FTC’s speculation that WhatsApp would

have changed its business, focused on the U.S. market, produced a service it had no experience

with or interest in offering, and consequently become a colossal success in the United States.

That narrative makes Jack-and-the-Beanstalk sound like a documentary. The FTC needs

evidence that consumers would have materially better “PSNS” services today if Meta had not

acquired WhatsApp. It has none.




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       i.       The Real-World Consumer Benefits from the WhatsApp Acquisition:

                                                                                . See SMF ¶ 778.

It charged U.S. customers a fee and was managed by founders who had a dogmatic insistence on

not making the app into something more like Facebook. See SMF ¶¶ 785-793 (discussing

limited features). It did not have end-to-end encryption or several other security features, and it

did not feature voice or video calling. See SMF ¶¶ 841, 846, 851-852. WhatsApp had relatively

few U.S. customers –

            . See SMF ¶ 778. It had no intention of expanding its U.S. presence, according to its

founder, because U.S. consumers generally had unlimited SMS service as part of their mobile

plans and therefore were unwilling to pay for another messaging service. See SMF ¶¶ 779-781.

WhatsApp also had no plan to reduce prices for consumers; it had the opposite expectation. See

SMF ¶¶ 763-766 (discussing anticipated expansion of subscription fees pre-acquisition).

       After the acquisition, Meta made WhatsApp free. See SMF ¶¶ 825-826. Since that time,

tens of millions of U.S. consumers (and billions globally) have enjoyed this valuable service at

zero cost. Output increased from                                                        , and from

                                                             over the same time frame. Compare

SMF ¶ 778, with id. ¶¶ 833-835. And quality improved as well: Meta added more than a dozen

features to WhatsApp, see SMF ¶¶ 840-841, 846-848 – including end-to-end encryption, which

makes messaging more private, see SMF ¶¶ 851-854 – and it significantly improved service

quality, see SMF ¶¶ 858-865. Meta has provided more than a hundred billion dollars in

consumer surplus to WhatsApp users since 2014. See SMF ¶ 824 (providing annual surplus

figures). Those are real-world consumer benefits the FTC cannot credibly deny. Indeed, it does

not make any serious attempt to deny them.




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       ii.     The FTC Has Only Speculation About the “But-For World”: The FTC

speculates that WhatsApp would have become a powerful PSNS rival but for the acquisition. No

court has ever held that a firm violated Section 2 by acquiring another firm that might enter into a

different market and become a competitor. Cf. FTC v. Tenneco, Inc., 433 F. Supp. 105 (D.D.C.

1977) (denying Section 13(b) claim under lower Section 7 standard); FTC v. Atl. Richfield Co.,

549 F.2d 289 (4th Cir. 1977) (same); FTC v. Steris Corp., 133 F. Supp. 3d 962 (N.D. Ohio 2015)

(same); FTC v. Meta Platforms Inc., 654 F. Supp. 3d 892 (N.D. Cal. 2023) (same); see also

United States v. Marine Bancorporation, Inc., 418 U.S. 602, 639 (1974) (regarding the validity

of actual potential competition as a theory, “we do not reach it”).

       Here, the FTC has to pile speculation on top of speculation even to articulate a theory as

to how WhatsApp, left on its own, would have produced consumer-welfare benefits greater than

those consumers enjoy today:

      First, WhatsApp would have had to reverse its decision to charge consumers – which it

       had no intention of doing. See SMF ¶ 764.

      Second, WhatsApp would have had to reverse its decision not to pursue growth in the

       U.S. market – which it had no intention of doing. See SMF ¶ 781.

      Third, WhatsApp would have had to change its product strategy, to copy the features of

       Facebook and Instagram rather than provide a simple, unadorned messaging product –

       which it had no intention of doing. See SMF ¶¶ 786-793.

      Fourth, WhatsApp would have had to recant its deep aversion to advertising, in order to

       support its operations, if not to make a profit for its owners – which it had no intention of

       doing. See SMF ¶¶ 767-770.




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Even if WhatsApp had attempted to do all those things, there is no evidence – only speculation –

that it would have survived as a Facebook clone in the United States, much less that it would

have experienced substantial growth and produced greater benefits for consumers in that

uncharted territory. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 569 (2007) (holding that

speculation about entry is insufficient to maintain antitrust claim, and noting that firms “do not

expand without limit and none of them enters every market that an outside observer might regard

as profitable”).

        All the necessary steps in the FTC’s imagined transformation of WhatsApp are contrary

to the evidence. WhatsApp’s founders gave unequivocal testimony that WhatsApp was not

going to become like Facebook or Instagram. See, e.g., SMF ¶ 788 (“Facebook Blue had a bevy

of features that we were never going to implement.”). For example, co-founder Brian Acton,

                                                      , testified: “Q. The FTC has, in its lawsuit

against Meta, made the allegation that if WhatsApp had not been acquired by Meta, then

Facebook, it would have pivoted to become a Facebook direct competitor, something more like

Facebook. Do you agree? A. No. Q. Is there any doubt in your mind about that? A. No. Q.

Would WhatsApp have continued on the trajectory it had been on if you had stayed managing it?

A. Yes.” See SMF ¶ 787.

        In addition, the contemporaneous documentary record is consistent with this unequivocal

testimony. See SMF ¶¶ 790-794. For example,



                                                                                  See SMF ¶ 791.

Another of WhatsApp’s co-founders, Jan Koum, said publicly, before the Meta acquisition: “We

don’t want our application to be a social network.” See SMF ¶ 793. In response to a contention




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interrogatory that sought all facts supporting the theory that WhatsApp would have pivoted to

become more like Facebook or Instagram but for the acquisition, the FTC



     . See SMF ¶ 795.

       Moreover, to the extent the FTC is willing to speculate that an international messaging

app like WhatsApp could pivot to a different business and succeed in the United States as a

Facebook or Instagram clone, it has no evidence – or even common sense – to support its

necessary contention that no other messaging service could follow suit. See United States v.

Siemens Corp., 621 F.2d 499, 509 (2d Cir. 1980) (requiring “evidence that the actual or

perceived potential entrant is one of but a few likely entrants”); Mo. Portland Cement Co. v.

Cargill, Inc., 498 F.2d 851, 865 (2d Cir. 1974) (Friendly, J.) (rejecting claim where other “major

participants in other markets” could be potential entrants); United States v. Black & Decker Mfg.

Co., 430 F. Supp. 729, 743 n.23 (D. Md. 1976) (requiring acquired firm to “be part of a small

group, since if a large group of potential entrants exists, the loss of one will be insignificant”).

That group of other potential entrants includes the U.S. messaging leader iMessage, plus Google

messaging and several other messaging services active both before and after the WhatsApp

acquisition. See SMF ¶¶ 782, 798, 836-838; see also SMF Part I.B.1(i) (discussing messengers).

       The FTC has only theories to explain why it believes WhatsApp alone, and not the many

other prominent U.S. messaging services, could successfully transform into a Facebook or an

Instagram. Such unsupported theories carry no weight at this stage of the case. The FTC needs

evidence and has none. One of the FTC’s expert witnesses testified that it would have been

unlikely for a firm like WhatsApp to successfully pivot to the United States on its own.

Professor Rim – formerly CEO of Kakao, which started as a messaging service and which the




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FTC includes as a PSNS (outside the United States) – testified that his experience with Kakao

was that an app with a user network primarily in a foreign market (like WhatsApp) cannot easily

pivot into another geography without an acquisition. See SMF ¶¶ 783-784.

                                                                                        , see

SMF ¶¶ 770-771, making dramatic transformation even less likely. See Atl. Richfield, 549 F.2d

at 295 (“financial resources” a consideration in evaluating likelihood of entry).

       Ultimately, in the face of all the contrary evidence, the FTC fashions a theory even more

speculative than its magic-beans hypothesis for an independent WhatsApp: Google would have

bought and transformed WhatsApp. See SMF ¶ 808. But there is no evidence that Google had a

concrete plan to acquire WhatsApp. See SMF ¶¶ 808-809, 811. There also is no evidence that

Google would have been successful in acquiring WhatsApp if it had wanted to do so. See SMF

¶ 807. There also is no evidence as to what Google would have done with WhatsApp if it had

acquired it. Nor is there evidence that if Google had acquired WhatsApp, it would have been

successful had it sought to make WhatsApp more like Facebook and Instagram; Google already

owned another messenger (see SMF ¶¶ 433-435) and Google+, which the FTC derides as a

PSNS failure. See SMF ¶ 568.

       The chain of speculation also ignores testimony from the WhatsApp founders that

WhatsApp was not considering other possible acquirers and would have required any

hypothetical acquirer to agree not to make dramatic changes to the WhatsApp messaging service.

See SMF ¶¶ 807, 809. Speculation about Google and what it might have done had it acquired

WhatsApp is untethered to facts and of no help to the FTC. Cf. Siemens, 621 F.2d at 508 (“Since

the Government offered no evidence of a . . . purchase that was available and attractive to

Siemens, any such theory must be rejected for lack of proof.”). Meta is aware of no court that




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has ever blocked – let alone unwound – an acquisition on the ground that a different buyer might

have emerged and would be preferred by the regulator.

        B.      The FTC’s Pre-Acquisition Review Should Create a Presumption That the
                Acquisitions Were Not Anticompetitive

        At this stage of the case, it would be inappropriate and unfair to ignore the undisputed

fact that the FTC conducted a required review of these two acquisitions before they were closed

and decided not to challenge them. The FTC cannot pretend its prior reviews should play no role

in evaluating whether the acquisitions were anticompetitive under Section 2. Instead, there

should be a presumption that the transactions were not anticompetitive. See Facebook, 560

F. Supp. 3d at 32 (belated merger review might warrant “adjustment in certain burdens of proof

or the remedy”). Meta duly followed regulatory requirements and presented its proposed

acquisitions to the FTC, which contemporaneously investigated both. See SMF ¶¶ 702-708

(Instagram), ¶¶ 815-817, 820 (WhatsApp). There is no allegation that Meta obstructed, withheld

information, or was anything other than fully cooperative. Meta proceeded with both

transactions only after the FTC advised that it did not intend to challenge either as

anticompetitive. See SMF ¶ 707 (Instagram), ¶¶ 818-819, 822 (WhatsApp). Meta thus acted in

reliance on the FTC’s regulatory decisions. Cf. Meta Platforms, 66 F.4th at 300-01 (discussing

Meta’s reliance interests in closing the acquisitions).

        The FTC has never even attempted to litigate a Section 2 challenge under remotely

similar circumstances. And no court has ever condemned the type of conduct here – submitting

a proposed acquisition for review, and then acquiring, developing, and growing the asset

following that review – as exclusionary conduct. Completing an acquisition following review by

the responsible U.S. antitrust regulator should be presumptively lawful – not exclusionary – for

at least three reasons:



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       First, the FTC reviewed both acquisitions under Section 7 of the Clayton Act, which sets

a lower bar for challenge than Section 2: Section 7 prohibits acquisitions that are considered

likely to harm competition and consumers, while Section 2 requires proof of actual harm to

competition and consumers. Cf. Rothery Storage, 792 F.2d at 220 (explaining that Section 7

“applies a much more stringent test ” for proposed transactions – and a lower bar for plaintiffs –

because Section 7 is “aimed at halting incipient monopolies and trade restraints outside the scope

of the Sherman Act”) (emphasis added; citation omitted). The FTC necessarily decided in 2012

and 2014 that there was insufficient evidence to proceed against either transaction, even under

this more enforcement-friendly standard. That is powerful evidence here and has to count for

something, much as the FTC throughout this case has claimed that its prior action (or inaction) is

irrelevant. The FTC is wrong about that. See Eastman v. Quest Diagnostics Inc., 2016 WL

1640465, at *9 (N.D. Cal. Apr. 26, 2016) (merger clearance “weigh[ed] against the conclusion”

that the acquisition could be “plausibly characterized as an unreasonable restriction on

competition”), aff ’d, 724 F. App’x 556 (9th Cir. 2018); see also Texaco Inc. v. Dagher, 547 U.S.

1, 6 n.1 (2006) (“presum[ing]” that a joint venture was “lawful,” including because it was

“approved by federal and state regulators”); United States v. Paramount Pictures, Inc., 2020 WL

4573069, at *6-7 (S.D.N.Y. Aug. 7, 2020) (pre-clearance review provides “antitrust agencies

with notice and opportunity to evaluate the competitive effects of the transaction,” which can

indicate “a low likelihood of potential future violation”). Belatedly revisiting the FTC’s

determinations, when the evidence is stale – or has disappeared – increases the risk of error or,

worse, risks re-characterizing acquisitions that were not anticompetitive as antitrust violations.

       Second, permitting retrospective condemnation of an acquisition after it has been

reviewed and allowed to proceed pursuant to a regulatory regime would provide little




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incremental benefit to consumers, while inviting false condemnation of pro-competitive mergers

– an outcome antitrust law proscribes. See Town of Concord v. Boston Edison Co., 915 F.2d 17,

22 (1st Cir. 1990) (Breyer, J.) (“An antitrust rule that seeks to promote competition but

nonetheless interferes with regulatory controls could undercut the very objectives the antitrust

laws are designed to serve.”). The Supreme Court has cautioned that the existence of a

regulatory regime – such as the Hart-Scott-Rodino Act pre-clearance review process here –

makes it “less plausible that the antitrust laws contemplate such additional scrutiny.” Trinko,

540 U.S. at 412. Additional “antitrust intervention” risks “[m]istaken inferences and the

resulting false condemnations” that could “chill the very conduct the antitrust laws are designed

to protect.” Id. at 414; see also United States v. Syufy Enters., 903 F.2d 659, 673 (9th Cir. 1990)

(“For competitors in a free market to fear buying each other out lest they be hit with the expense

and misery of an antitrust enforcement action amounts to a burden only slightly less palpable

than a direct governmental prohibition against such a purchase.”).

       Third, it would be unfair to Meta, chilling to other firms, and harmful to beneficial

competition in the form of post-acquisition investments and integration to allow the FTC a

do-over many years after the fact. The merger pre-clearance process is designed to resolve

challenges before the parties make irreversible decisions about acquisitions and large

investments in acquired assets. See Pharm. Rsch. & Mfrs. of Am. v. FTC, 790 F.3d 198, 199

(D.C. Cir. 2015). Parties necessarily rely on that regime. See Meta Platforms, 66 F.4th at 300-

01 (“Mergers normally lead to progressive integration of the assets and operations of the merged

firms, and to investment and other business decisions that are contingent on the new situation.”).

If a regulator can make a springing hindsight claim at any time – without evidence of fresh

anticompetitive conduct – then the inhibiting effect on pro-competitive mergers and investment




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in newly acquired assets is obvious. That is directly contrary to the goals of antitrust. See Syufy,

903 F.2d at 673 (“[I]n a competitive market, buying out competitors is not merely permissible, it

contributes to market stability and promotes the efficient allocation of resources.”).

       There may be circumstances that justify exceptions to the presumption. But none is

present here. The FTC has never claimed that Meta engaged in any improper conduct in the

course of the agency’s reviews. Cf. Chicago Bridge & Iron Co. N.V. v. FTC, 534 F.3d 410, 420

n.2 (5th Cir. 2008) (challenging acquisition that parties closed during ongoing agency review).

Nor is this a case where an acquisition enabled distinct anticompetitive conduct years after a

transaction. Cf. United States v. E.I. du Pont de Nemours & Co., 353 U.S. 586, 603-05 (1957)

(condemning anticompetitive use of previously acquired General Motors stock to steer supply

contracts, where conduct occurred at the time of challenge, not at the time stock was acquired).

       The FTC claims only that the acquisitions were anticompetitive at the time – in 2012 and

2014 – and that Meta continues to hold assets from the acquired firms. See SMF ¶ 653 (citing

FTC interrogatory response). There is nothing here to balance against a Section 2 presumption

that reflects the evidentiary value of contemporaneous regulatory review and the risks of

ignoring it. See Arch Coal, 329 F. Supp. 2d at 132 (stating, in Section 7 case, that “[t]he novel

approach taken by the FTC in this case makes its burden to establish anticompetitive effects in

the post-merger [product] market more difficult”). The FTC’s decisions to let these acquisitions

proceed should be respected; Meta should not be turned upon after relying on the agency. See

United States v. Aluminum Co. of Am., 148 F.2d 416, 430 (2d Cir. 1945) (Hand, J.) (“The

successful competitor, having been urged to compete, must not be turned upon when he wins.”).

                                         CONCLUSION

       For the foregoing reasons, the Court should grant the motion, award Meta summary

judgment as to all claims, and dismiss the FTC’s lawsuit.


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Dated: April 5, 2024                  Respectfully submitted,

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